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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               Case No. 8:09CR3
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )                      ORDER
ANTONIO FRAUSTO,                               )
                                               )
                      Defendant.               )


       This case is before the court on the defendant's Motion for Leave to File Out of Time

(#80) and the government's response in opposition thereto (#86). The motion is denied.

The date for the filing of pretrial motions was previously set by Order of this court (#42) as

February 27, 2009, and the defendant's motion to file for a Bill of Particulars fails to set out

a factual basis for the requested relief.

       IT IS ORDERED:

       1. The defendant's Motion for Leave to File Out of Time (#80) is denied.

       2. Defendant's Motion for Bill of Particulars (#84) and the brief in support of the

Motion for Bill of Particulars (#82) are ordered stricken.

Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of Appeal
of Magistrate Judge's Order" within ten (10) business days after being served with the
order. The party shall specifically state the order or portion thereof appealed from and the
basis of the appeal. The appealing party shall file contemporaneously with the statement
of appeal a brief setting forth the party's arguments that the magistrate judge's order is
clearly erroneous or contrary to law. The filing of a statement of appeal does not
automatically stay the magistrate judge's order pending appeal. See NECrimR 57.2.

       Dated this 7th day of May 2009.

                                            BY THE COURT:

                                            S/ F. A. Gossett
                                            United States Magistrate Judge
